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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                         Case No. 02-cr-153-13-15-SM

Joyce Goodlin and
Deborah Wasserman

                                    ORDER

      Defendant Goodlin’s motion to continue the final pretrial conference and

trial is granted (document 374). Trial has been rescheduled for the May 2008

period. Defendant Goodlin shall file a waiver of speedy trial rights not later

than March 6, 2008. Upon filing of such waiver, her continuance shall be

effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: April 24, 2008 at 10:30 a.m.

      Jury Selection: May 6, 2008 at 9:30 a.m.
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      SO ORDERED.



                                   ____________________________
                                     Steven J. McAuliffe
                                     Chief Judge

February 22, 2008

cc:   Paul Maggiotto, Esq.
      David Vicinanzo, Esq.
      Michael Sheehan, Esq.
      Andrew Schulman, Esq.
      Don Feith, AUSA
      US Probation
      US Marshal




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